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                 ,17+(81,7('67$7(6',675,&7&2857)25
                    7+(($67(51',675,&72)2./$+20$


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           $SSHQGL[WR%ULHILQ6XSSRUWRI3HWLWLRQIRU+DEHDV&RUSXV

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 6:23-cv-00146-JFH-GLJ Document 5 Filed in ED/OK on 05/01/23 Page 2 of 161

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                   2NODKRPDY:DUG1R7ULDO7UDQVFULSW([FHUSWV7HVWLPRQ\RI
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                   2NODKRPDY:DUG1R7ULDO7UDQVFULSW([FHUSWV7HVWLPRQ\RI
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                   2NODKRPDY:DUG1R7ULDO7UDQVFULSW([FHUSWV7HVWLPRQ\RI
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                   2NODKRPDY:DUG1R7ULDO7UDQVFULSW([FHUSWV7HVWLPRQ\RI
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